                                 OPINION
On March 8, 1991, appellee, Scott H. Wolfe, was convicted on four counts of rape, in violation of R.C. 2907.02, one count of kidnapping, in violation of R.C. 2905.01, and three counts of gross sexual imposition, in violation of R.C. 2907.05. He was subsequently sentenced by the Lake County Court of Common Pleas to serve a definite term of incarceration of life imprisonment. In April of 1997, the Department of Corrections recommended that appellee be adjudicated a sexual predator under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds. ________________________ JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.